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                    IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE WESTERN DISTRICT OF PENNSYLVANIA

  In re: U LOCK INC. a/k/a           )
  U-LOCK INC.                             )        Bank. 22-20823-GLT
                                          )
                           Debtor.        )        Chapter 7
                                          )
  —-------------------------------------- )
  CHRISTINE BIROS,                        )
                                          )
                           Movant,        )
                                          )        RE: Entry 340
         v.                               )
                                          )
  SHANNI SNYDER,                          )
                                          )
                           Respondents.   )
  ________________________________ )

    SHANNI SNYDER’S JOINDER AND RESPONSE TO USAAG SYSTEMS CO.’S
    REQUEST FOR EXPEDITED HEARING OR EMERGENCY MOTION TO STAY
  SUBPOENA PENDING HEARING; MOTION FOR A PROTECTIVE ORDER; MOTION
    TO QUASH SUBPOENA; OR, IN THE ALTERNATIVE, MOTION TO SPECIFY
  CONDITIONS OF SUBPOENA; AND, MOTION TO DIRECT DISCLOSURE OF PRIOR
                             SUBPOENA

          AND NOW, comes Shanni Snyder (“Snyder”), a creditor and interested party

  herein, and submits the within response joins non-party USAAG System’s motion relating

  to the subpoena issued by Christine Biros, and in support thereof, states as follows::

     1.      The averments of this paragraph are admitted. In fact, Biros and her counsel

  have failed to serve a complete copy of all subpoena issued in this matter on the

  undersigned counsel.

     2.      The averments of this paragraph are admitted. Like USAAG, Snyder objects

  to the subpoena and believes it should be quashed or the responsive documents

  reviewed in camera. The subpoena appears to be meant to relitigate this Court’s sale

  Order that assigned the rights of Robert Slone, Trustee, to Ms. Snyder. Furthermore, the

  subpoena is not directed to obtain information which relates to the issues before the Court


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  in any manner.

     3.     The averments of this paragraph are admitted.

     4.     The averments of this paragraph are admitted. By way of further response, at

  the time of the sale hearing, Snyder and her previous counsel offered to disclose certain

  information regarding hearing, which the Court did not require.

     5.     The averments of this paragraph are admitted. Furthermore, the information

  sought by the subpoena is not relevant to any pending matter. Additionally, Biros has

  expedited a pattern of attempting to expedite response time to discovery requests,

  including unilaterally attempting to set response deadlines in advance of that provided for

  in the Rules of Civil Procedure. This is prejudicial and has been done in an attempt to

  prevent objections to their requests.

     6.     The averments of this paragraph are admitted. By way of further response,

  the request does not appear to be directed to obtaining information pertaining to the

  issues pending before the Court.

     7.     The averments of this paragraph are admitted. In addition to the foregoing,

  Bankruptcy Rule 7026 and F.R.Civ.P. 26(b) require consideration of the value of the

  litigation and the costs of the discovery. The litigation surrounding Snyder’s proof of claim

  appears to have very little, if any, economic value, given the de minimis nature of the

  current assets of the Estate. At the current time, it appears that very little, if any, money

  will be distributed to unsecured creditors. The amount of attorney fees incurred will most

  likely exceed any distribution to any creditor in this Estate. Expanding the case to include

  third-party financial matters which do not pertain to the actual issues before the Court is

  simply improper and is causing all parties to incur unnecessary fees and costs.

     8.     The averments of this paragraph are admitted.

     9.     The averments of this paragraph are admitted.



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     10.    The averments of this paragraph are admitted.

     11.    The averments of this paragraph are admitted.

     12.    The averments of this paragraph are admitted.

     13.    The averments of this paragraph are admitted.

     14.    The averments of this paragraph are admitted.

     15.    The averments of this paragraph are admitted.

     16.    The averments of this paragraph are admitted.

     17.    The averments of this paragraph are admitted.

     18.    The averments of this paragraph are admitted.

     19.    The averments of this paragraph are admitted.

     20.    The averments of this paragraph are conclusions of law for which no

  response is required. By way of further response, Snyder does not believe there is any

  good faith basis for the information requested in the subpoena as it does not appear to

  be directed at any issue currently before the Court.

     21.    The averments of this paragraph are admitted.

     22.    The averments of this paragraph are admitted.

     23.    The averments of this paragraph are admitted.

     24.    The averments of this paragraph are conclusions of law for which no

  response is required.

     25.    The averments of this paragraph are admitted.

     26.    The averments of this paragraph are admitted.

     27.    The averments of this paragraph are admitted.

     28.    The averments of this paragraph are admitted.

     29.    The averments of this paragraph are admitted.

     30.    The averments of this paragraph are admitted.



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     31.      The averments of this paragraph are admitted. Furthermore, Snyder joins the

     position of USAAG that the subpoena does not constitute a good faith discovery

     request contemplated by Rule 26(b) and should be quashed or any disclosures

     reviewed in camera for relevancy and commercial information prior to being turned

     over to the parties.

           WHEREFORE, Creditor Shanni Snyder respectfully requests that this Court grant

  USAAG’s motion and quash the subpoena.

                                                  Respectfully Submitted,



                                                  /s/ John P. Lacher
                                                  John P. Lacher PA I.D. #62297
                                                  501 Smith Drive, Suite 3
                                                  Cranberry Twp., PA 16066
                                                  (724) 776-8000 (Phone)
                                                  (724) 776-8001 (Fax) jlacher@lynchlaw-
                                                  group.com

                                                   /s/ David L. Fuchs
                                                  David L. Fuchs PA I.D. #205694
                                                  Fuchs Law office, LLC
                                                  554 Washington Avenue, First Floor
                                                  Carnegie, PA 15706
                                                  (412) 223-5404 (Phone)
                                                  (412) 223-5406 (Fax)
                                                  dfuchs@fuchslaw.com

                                                  Counsel for Shanni Snyder




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  CHRISTINE BIROS,                        )
                                          )
                           Movant,        )
                                          )           RE: Entry 340
         v.                               )
                                          )
  SHANNI SNYDER,                          )
                                          )
                           Respondents.   )
  ________________________________ )


                                   CERTIFICATE OF SERVICE

         David L. Fuchs hereby certifies, that on the 2nd day of June, 2023, a true and correct copy

  of the foregoing JOINDER AND RESPONSE TO USAAG SYSTEMS CO.’S REQUEST FOR

  EXPEDITED HEARING OR EMERGENCY MOTION TO STAY SUBPOENA PENDING

  HEARING; MOTION FOR A PROTECTIVE ORDER; MOTION TO QUASH SUBPOENA; OR, IN

  THE ALTERNATIVE, MOTION TO SPECIFY CONDITIONS OF SUBPOENA; AND, MOTION

  TO DIRECT DISCLOSURE OF PRIOR SUBPOENA was served upon the following (via

  electronic service):

  Office of the U.S. Trustee
  970 Liberty Center
  Bldg.1001 Liberty Avenue
  Pittsburgh, PA 15222

  Robert H. Slone, Trustee
  223 South Maple Avenue
  Greensburg, PA 15601




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  Michael F. Santicola
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  Date: June 2, 2023                             /s/ David L. Fuchs
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